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                     Exhibit 02
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       DEEPWATER HORIZON ECONOMIC AND PROPERTY SETTLEMENT
               BUSINESS ECONOMIC LOSS CLAIM FORM
                         (PURPLE FORM)

                                                                                         *PURPLE*




After you complete and sign your Claim Form, submit it to the Claims Administrator as directed in the
Instructions Booklet that accompanies this Claim Form. If you submit your Claim Form by mail or delivery, do
not separate this cover page from the Claim Form. If you have to take this Claim Form apart to photocopy or fax
it, make sure you include this cover page as the first page when you submit it.




Business Economic Loss Claim Form


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       DEEPWATER HORIZON ECONOMIC AND PROPERTY SETTLEMENT
               BUSINESS ECONOMIC LOSS CLAIM FORM
                         (PURPLE FORM)
To make a Business Economic Loss Claim under the Deepwater Horizon Economic and Property Damages Settlement
Agreement (the “Settlement”) for damages arising from the Deepwater Horizon Incident on April 20, 2010 (the “Spill”), you
must complete and submit this Claim Form and all documentation required by the Settlement (“Supporting
Documentation”) to the Claims Administrator on or before April 22, 2014, or six months after the Effective Date of the
Settlement, whichever is later.
The Business Economic Loss Claim is for businesses (including those reporting on Form 1040 Schedules C, E, or F) that
assert economic loss due to the Spill. Commercial Fishermen, Seafood Vessel Owners, Seafood Boat Captains, Seafood
Crew, and Oyster Leaseholders who want to make a claim for economic losses relating to Seafood must use the Seafood
Compensation Program Claim Form (Yellow Form) and not this Business Economic Loss Claim Form.
When completing this Claim Form, refer to the accompanying booklet called “Instructions for Completing the Business
Economic Loss Claim Form (Purple Form),” which contains detailed instructions for completing and submitting this Claim
Form, helpful definitions, and the list of Supporting Documentation required to prove your claim.
If you have access to a computer with an internet connection, it will be far easier for you to fill out and submit your Claim
Form online, rather than on this paper Claim Form. The online claim process will guide you through only the specific
questions you need to answer, and will instruct you about the specific Supporting Documentation you must submit, based
on the answers you enter as you go along. Go to www.deepwaterhorizonsettlements.com to submit a claim online.
If you do not have access to the internet, you may visit a Claimant Assistance Center for assistance with submitting a claim
in person. Section 5 of the Business Economic Loss Instructions Booklet lists the Claimant Assistance Centers.
                                             A. Claimant Information
Provide the following information about the business on behalf of which you are filing this claim for Business Economic
Loss.
1. Business Name:
                                                                  SSN or ITIN
2. Social Security Number:
        or                                                        |      |          |         |-|       |       |-|             |           |           |           |
    Individual Taxpayer Identification Number:
                                                                  EIN
        or
    Employer Identification Number:                               |      |          |-|         |       |       |       |           |           |           |
3. Claimant Number: If you previously filed a claim with the Gulf
   Coast Claims Facility (“GCCF”), you will keep that same seven-digit
   Claimant Number in the Deepwater Horizon Settlement Program.
   Check the box at the right called “GCCF Claimant Number” and                         GCCF Claimant Number:
   provide that seven-digit Claimant Number.
                                                                                |         |         |       |       |       |           |           |
    If you did not file a claim with the GCCF, you will receive a new
    Claimant Number when you file your initial Registration Form with           OR
    the Deepwater Horizon Settlement Program. If you have already
    received your new Settlement Program Claimant Number, check the                     Deepwater Horizon Settlement Program
    box called “Deepwater Horizon Settlement Program Claimant                           Claimant Number:
    Number” and provide that nine-digit Claimant Number.
                                                                                |         |         |       |       |       |           |           |           |       |
    If you do not yet have a Claimant Number, leave this question
    blank.



Business Economic Loss Claim Form                                                                                                                                   Page 1


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                            B. Information Required for a Business Economic Loss Claim
If you are making a Business Economic Loss Claim for more than one Claiming Facility, photocopy this section of the Claim
Form before completing it and attach the copy to the Claim Form for submission. Make one copy for each additional Claiming
Facility.
1. You cannot make an economic loss claim for a business that falls into any of the categories listed below.
   Check any and all boxes that describe your business.


Refer to Section 2 of the Business Economic Loss Instructions Booklet for more detailed descriptions of these categories.


          (a) Financial Institution.
          (b) Fund, financial trust, or other financial vehicle.
          (c) Gaming.
          (d) Insurance.
          (e) Oil and gas industry.
          (f) Defense contractor or subcontractor.
          (g) Real estate development.
          (h) Selling or marketing BP-branded fuel at anytime from April 20, 2010, through April 16, 2012.
If you check the box next to any of the above categories, your business is not eligible to make an Economic Loss
Claim, and you should not complete or submit this Claim Form.

2. During the period from April 1, 2010, through December 31, 2010, did
   your business maintain more than one separate and distinct physical
                                                                                                     Yes           No
   location? If you check “Yes,” continue to Question 3. If you check “No,” go to
   Question 7.
3. Is your business’s headquarters located within the Gulf Coast Areas?                              Yes           No

4. Are all of your business’s Facilities located within the Gulf Coast Areas?                        Yes           No

5. Does your business maintain separate profit and loss statements for
                                                                                                     Yes           No
   each Claiming Facility?
6. Is your business submitting a claim for all Facilities located within the
   Gulf Coast Areas? If you checked “Yes” for Question 3, you may file a
   consolidated claim for all Facilities or you may elect to file individual claims for
   each Claiming Facility separately.        If you checked “No” for Question 3,
   information must be provided on a Facility-by-Facility basis, but you may send in
   each of those claims together to facilitate efficient processing.

By checking “Yes” to this question, you are indicating that you are submitting a
consolidated Claim for all Facilities located within the Gulf Coast Areas. If you wish to
                                                                                                     Yes           No
file a claim for each Facility separately, check “No.” You may not file a consolidated
Claim for only a subset of your business’s Facilities located within the Gulf Coast
Areas.
If you are filing a Business Economic Loss Claim for a Multi-Facility Business and are
providing information on a Facility-by-Facility basis, you must complete Section B, C,
D, and E for each Claiming Facility. Questions 2 through 6 in this section are not
required for each individual Facility. Only Question 1 is required for each individual
Facility. Photocopy each section before completing it and attach the copy to this
Claim Form for submission. Make as many copies as you need.

   Business Economic Loss Claim Form                                                                                    Page 2


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7. What is the address of your business? For consolidated claims of a Multi-Facility Business with headquarters in the
   Gulf Coast Areas, this is the address of the corporate headquarters; otherwise this is the address of each separate Claiming
   Facility.

Business Name
                                      Street



Business Address:                     City                                   State                              Zip Code

Headquarters
                                      Parish/County




Business Phone Number:                (        |   |   ) |   |   |   | - |   |       |   |   |


                                                                                                             Zone A
8. In which Economic Loss Zone is your business located?                  Go to
   www.deepwaterhorizonsettlements.com, call toll free at 1-866-992-6174, or visit                           Zone B
   a Claimant Assistance Center to determine in which Economic Loss Zone your                                Zone C
   business is located.
                                                                                                             Zone D


9. Provide the NAICS (North American Industry Classification System)
   Code for your business that forms the basis of your Economic Loss
                                                                                             ___________________________
   Claim. You can search for your code using www.census.gov/naics.

Provide a description of your business:




10. In 2009, did your business provide significant services, goods, and/or
    supplies to businesses in the offshore Oil & Gas Industry in the Gulf of                             Yes                 No
    Mexico?


What were your business’s total 2009 revenues?                                                      $__________________

What were your business’s total 2009 revenues from the provision of services, goods,
                                                                                                    $__________________
and/or supplies to businesses in the offshore Oil & Gas Industry in the Gulf of
Mexico?

                                                                                                         Yes                 No
11. Has your business ceased operations, declared bankruptcy or liquidated
    substantially all of its assets since May 1, 2010? If your business failed                   If “Yes,” provide the date your
    between May 1, 2010, and December 31, 2011, stop filling out this Claim Form                   business ceased operations:
    and submit the Failed Business Economic Loss Claim Form (Red Form)
    instead.                                                                                           ____/_____/____
                                                                                                          (Month/Day/Year)




  Business Economic Loss Claim Form                                                                                               Page 3


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12. Is your business a Start-Up Business? If your business’s operations began
    on or after January 1, 2009, stop filling out this Claim Form and submit the
    Start-up Business Economic Loss Claim Form (Gray Form) instead. If
    your business’s operations began after November 1, 2008, but before January 1,           Yes     No
    2009, you have the option of using this Business Economic Loss Claim Form
    (Purple Form) and selecting 2009 as your Benchmark Period or proceeding under
    the Start-Up Business Economic Loss Claim Form (Gray Form).
13. Did your business participate in the Vessels of Opportunity (“VoO”)
                                                                                             Yes     No
    program?
Identify any months after the Spill in which your business received revenue from the VoO program, and the
amount of that revenue. Leave this section blank if your business did not receive any revenue because of
participation in the VoO program.

                 May 2010             $ ________               September 2010        $ ________

                 June 2010            $ ________               October 2010          $ ________

                 July 2010            $ ________               November 2010         $ ________

                 August 2010          $ ________               December 2010         $ ________

                                                               All Months 2011       $ ________

Identify any months after the Spill in which your business incurred expenses because of participation in the VoO
program, and the amount of those expenses. Leave this section blank if your business did not incur expenses
because of participation in the VoO program.

                 May 2010             $ ________               September 2010        $ ________

                 June 2010            $ ________               October 2010          $ ________

                 July 2010            $ ________               November 2010         $ ________

                 August 2010          $ ________               December 2010         $ ________
                                                               All Months 2011       $ ________

14. Identify other sources of income to your business that can be used to reconcile tax returns with business
    financial statements, if any.




  Business Economic Loss Claim Form                                                                       Page 4


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For Questions 15 – 19, consult the definition section in the Business Economic Loss Instructions Booklet to
determine    if   your     business     meets      the    definition   or    criteria.   Go     online    to
www.deepwaterhorizonsettlements.com, call toll free at 1-866-992-6174, or visit a Claimant Assistance Center
to determine in which Economic Loss Zone your business is located and whether it meets the Tourism
Definition.

15. Does your business sell to customers in multiple Economic Loss Zones?                  Yes            No

16. Is your business a Landing Site, Commercial Wholesale or Retail Dealer
                                                                                           Yes            No
    A, or a Primary Seafood Processor?

17. Is your business a Commercial Wholesale or Retail Dealer B, a
    Secondary Seafood Processor, a Seafood Wholesaler or Distributor, or a                 Yes            No
    Seafood Retailer?

18. Does your business fall within the Tourism Definition?                                 Yes            No

19. Is your business a Charter Fishing Operation?                                          Yes            No

20. Did specific market changes outside your control, unrelated to the Spill,
    and occurring after April 20, 2010, prevent your business from earning                 Yes            No
    revenues in 2011 that were comparable to pre-Spill periods?
If Yes, describe these market changes. Examples may include, but are not limited to, the following: (1) the entry of a
competitor in 2011; (2) the bankruptcy of a significant customer in 2011; (3) nearby road closures affecting your business; (4)
unanticipated interruption resulting in closure of your business; (5) the replacement of a product or service by a customer; or
(6) the loss of financing and/or reasonable terms of renewal.




21. Did the Spill directly result in the cancellation of a contract that your
    business was unable to replace? A Canceled Contract is a contract that was
    in place on April 20, 2010, and which was to be performed between April 21,                     Yes           No
    2010, and December 31, 2010, but was canceled between April 21, 2010, and
    December 31, 2010, and that you were unable to replace on the same or similar
    terms.
If Yes, attach the contract and describe your efforts and inability to replace the contract:




  Business Economic Loss Claim Form                                                                                    Page 5


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22. Did the Spill result in reservation cancellations that your business was
    unable to rebook? A Canceled Reservation is a reservation that was in place
    on April 20, 2010, and which was to occur between April 21, 2010, and December         Yes   No
    31, 2010, but was canceled between April 21, 2010, and December 31, 2010, and
    that you were unable to replace on the same or similar terms.

If Yes, describe the cancellations and your efforts and inability to rebook the cancellations:




  Business Economic Loss Claim Form                                                                   Page 6


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                               C. Selection of Benchmark and Compensation Periods
Claimants must make several elections to qualify for benefits. Claimants select one historical set of years for all
comparisons throughout the claims process (the Benchmark Period year(s)). In addition, claimants select two
Compensation Periods. Consult the “Instructions for Completing the Business Economic Claim Form (Purple
Form)” for more information.

1. Select Benchmark Period years. Choose one of the following periods, which will serve as the baseline for measuring
   your business’s historical financial performance. The Claims Administrator will review all the documents and information
   you submit to determine the best Benchmark Period that maximizes your recovery, even if that differs from the period you
   select. If you do not wish to pick a Benchmark Period at all and instead would like the Claims Administrator to select your
   best Benchmark Period, select “Claims Administrator Selected Benchmark Period.”

                 2009; or
                 Average of 2008 and 2009; or
                 Average of 2007, 2008, and 2009; or
                 Claims Administrator Selected Benchmark.

2. Select Step 1 Compensation Period. Choose three or more consecutive months from May 2010 through December
   2010. You can check all of the boxes or as few as three. However, all boxes checked must be consecutive. The Claims
   Administrator will review all the documents and information you submit to determine the best Step 1 Compensation Period
   that maximizes your recovery, even if that differs from the period you select. If you do not wish to pick a Step 1
   Compensation Period at all and instead would like the Claims Administrator to select your best Step 1 Compensation Period,
   select “Claims Administrator Selected Step 1 Compensation Period.” If you are eligible for compensation, a different
   Compensation Period may be selected to determine your Total Compensation. Refer to the Settlement for further
   information on how your business’s Step 1 Compensation Period will be used in calculating Total Compensation.

                 May 2010                    September 2010

                 June 2010                   October 2010

                 July 2010                   November 2010

                 August 2010                 December 2010
                 Claims Administrator Selected Step 1 Compensation Period
3. Select Step 2 Compensation Period. Choose one of the following periods, which will serve as your business’s Step 2
   Compensation Period. If your business is eligible for compensation, the Step 2 Compensation Period you select will be
   used to determine your business’s Total Compensation. The Claims Administrator will review all the documents and
   information you submit to determine the best Step 2 Compensation Period that maximizes your recovery, even if that
   differs from the period you select. If you do not wish to pick a Step 2 Compensation Period at all and instead would like
   the Claims Administrator to select your best Step 2 Compensation Period, select “Claims Administrator Selected Step 2
   Compensation Period.” Refer to the Settlement for further information on how your business’s Step 2 Compensation Period
   will be used in calculating Total Compensation. NOTE: If you select a seven-consecutive-month or eight-consecutive-
   month period for your Step 1 Compensation Period in Question 2, that same period of consecutive months in 2010 shall be
   used as your Step 2 Compensation Period.

                 May – October 2010; or

                 June – November 2010; or

                 July – December 2010; or

                 Use same 7 or 8 month period as in Question 2; or
                 Claims Administrator Selected Step 2 Compensation Period



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                    D. Documentation Required for a Business Economic Loss Claim
In addition to this Claim Form, you must submit certain Supporting Documentation to prove your Business Economic Loss
Claim. The list of required documents, and instructions for how to submit them, are in Section 4 of the Business Economic
Loss Instructions Booklet. If you do not submit the required Supporting Documentation, the Claims Administrator will not be
able to review your claim and you will not receive payment for your claim.

                                                      E. Payment
1. If You Have Your Own Attorney. Unless you check the box below, the Claims Administrator will make any payments
   jointly to you and to your attorney, which means that both you and your attorney will need to endorse the check before a
   bank will honor it.

         Check here if you want the Claims Administrator to make payments in connection with this and any other claim you
         may file in the Deepwater Horizon Economic and Property Settlement only to your attorney. This means that the
         Claims Administrator will send your payment to your attorney, who will then pay you pursuant to the retainer
         agreement you have with him/her.

2. If You Do Not Have Your Own Attorney. If you have not retained an attorney to represent you in connection with
   your Spill-related claim, the Claims Administrator will make any payments to which you are entitled directly to you by
   check. Payment checks will be sent by First Class Mail to the address you provided in the Registration Form or to the
   address that the Claims Administrator confirms for you during the processing of your Claim. You have an obligation to
   notify the Claims Administrator if your address changes.

   The Claims Administrator will report annually to federal and state taxing authorities, using a Form 1099 or state form
   equivalent, for certain payments made. The Claims Administrator will send you a copy of that form, but cannot give you
   any tax advice regarding any payment issued to you. You should consult with your own tax advisor to determine the tax
   impact of any payment you receive from the Claims Administrator.

3. Garnishments, Liens and other Attachments. Legally authorized garnishments, liens, or similar forms of attachments
   relating to your claim will be honored and deducted from your payment.

4. W-9 Form Requirement. All claimants must provide a W-9 Form. To obtain a copy of that form, go to
   www.deepwaterhorizonsettlements.com, or request one at a Claimant Assistance Center or by calling 1-866-992-6174.

5. Do you intend to seek reimbursement for Claimant Accounting Support Services in connection with your
   claim?
         Yes         No

   If you check “Yes” for Question E.5, you must submit the documents listed in Section 4.E of the Business Economic Loss
   Instructions Booklet.




  Business Economic Loss Claim Form                                                                                Page 8


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                                                        F. Signature
I certify and declare under penalty of perjury pursuant to 28 U.S.C. Section 1746 that the information provided in this Claim
Form is true and accurate to the best of my knowledge, and that supporting documents attached to or submitted in connection
with this form and the information contained therein are true, accurate, and complete to the best of my knowledge, and I
understand that false statements or claims made in connection with this Claim Form may result in fines, imprisonment, and/or
any other remedy available by law to the Federal Government, and that suspicious claims will be forwarded to federal, state,
and local law enforcement agencies for possible investigation and prosecution.

I certify that I am authorized to act on behalf of the business submitting this Claim Form.

By submitting this Claim Form, I consent to the use and disclosure by the Claims Administrator and those assisting the Claims
Administrator of any information about me that they believe necessary and/or helpful to process my claim for compensation
and any payment resulting from that claim.

Signature:                                                                                     Date:   _____/_____/______
                                                                                                           (Month/Day/Year)

                  First                                 Middle                          Last
Printed
Name:

Title:

An authorized business representative must sign this Claim Form personally.




  Business Economic Loss Claim Form                                                                                      Page 9


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